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13   and OTTOMOTTO LLC

14                             UNITED STATES DISTRICT COURT

15                          NORTHERN DISTRICT OF CALIFORNIA

16                                   SAN FRANCISCO DIVISION

17   WAYMO LLC,                                     Case No.     3:17-cv-00939-WHA

18                      Plaintiff,                  DEFENDANT UBER
                                                    TECHNOLOGIES, INC. AND
19        v.                                        OTTOMOTTO, LLC’S RESPONSE
                                                    TO COURT’S REQUESTS FOR LIST
20   UBER TECHNOLOGIES, INC.,                       OF FACTS OCCURRING AFTER
     OTTOMOTTO LLC; OTTO TRUCKING LLC,              COMMENCEMENT OF THE ACTION
21                                                  THAT UBER PLANS TO PRESENT
                        Defendants.                 TO THE JURY (DKT 784, ¶ 1)
22
                                                    Judge: The Honorable William Alsup
23
                                                    Trial Date: October 10, 2017
24

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26               REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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               DEFENDANTS’ RESPONSE TO COURT’S REQUESTS FOR LISTS (DKT. 784, ¶ 1)
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 1           Uber Technologies, Inc. and Ottomotto LLC (collectively “Uber”) submit this response to

 2   the Court’s requests at the June 29, 2017 Hearing and the June 30, 2017 Order (Dkt. 784, ¶ 1) for

 3   the following lists:

 4          A list identifying all orders that Uber intends to affirmatively rely on at trial before the

 5           jury, and the relevance of that order (6/29/2017 Hrg. Tr. 4:23–5:16, 91:23–25) (the “List

 6           of Court Orders”),

 7          A list identifying all admissions by Waymo’s counsel in briefs, during oral argument, or

 8           during colloquy at a deposition that Uber intends to affirmatively rely on at trial before the

 9           jury, and the relevance of that admission (id. 5:17–6:8, 92:1–3, 93:8–18) (the “List of

10           Party Admissions through Statements or Filings”), and

11          A list of all events occurring after the commencement of this civil action that it plans to

12           present in its case in chief at trial (Dkt. 784, ¶ 1) (the “List of Post-Complaint Facts”).

13

14                                        PRELIMINARY STATEMENT

15           As the Court directed, Uber intends to “prove [its] case through the facts.” (6/29/17 Hr’g

16   Tr. at 94:4–5.) In general, as explained below, the facts presented to the jury should be those that

17   prove the truth or falsity of the underlying claims and defenses, rather than statements made

18   during the course of the pretrial proceedings by the Court or the parties. Uber therefore presents

19   limited lists in response to the Court’s Order, and does so mindful of whether it is appropriate to

20   present something that occurred in the pretrial proceedings merely to show the existence of that

21   adjudicative fact, versus the relatively rare instance where it may be appropriate to present a

22   pretrial statement by the Court or the parties to try to prove the truth of the underlying assertion it

23   contains. These governing principles are briefly summarized below.

24           Under certain narrow circumstances, the existence (but not the truth of the contents) of the

25   court’s public records—including orders, hearing transcripts, and briefs, and attorneys’ statements

26   therein—are adjudicative facts, such that reference to them is appropriate before the jury under

27   Federal Rules of Evidence 201 and 801. These facts would likely come into evidence through a

28   neutral instruction from the Court (as the Court would do for stipulated facts).
                                                 1
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 1          Prior court proceedings are matters of public record. See United States v. S. Cal. Edison

 2   Co., 300 F. Supp. 2d 964, 973–74 (E.D. Cal. 2004). The existence of a court order is an

 3   adjudicative fact that is “not subject to reasonable dispute.” FED. R. EVID. 201(b); see also

 4   Gerritsen v. Warner Bros. Entm’t Inc., 112 F. Supp. 3d 1011, 1034 (C.D. Cal. 2015) (“It is well

 5   established that a court can take judicial notice of its own files and records under Rule 201 of the

 6   Federal Rules of Evidence.”) (collecting cases). Where judicial notice is appropriate, a court

 7   “must instruct the jury to accept the noticed fact as conclusive.” FED. R. EVID 201(f).

 8          Court orders and their operative terms are judicially noticeable for their existence, but not

 9   for the truth of their contents. E.g., M/V Am. Queen v. San Diego Marine Const. Corp., 708 F.2d

10   1483, 1491 (9th Cir. 1983) (“a court may not take judicial notice of proceedings or records in

11   another cause so as to supply, without formal introduction of evidence, facts essential to support a

12   contention in a cause then before it”); S. Cal. Edison Co., 300 F. Supp. 2d at 974 (under Rule 201,

13   “a court can only take judicial notice of the existence of those matters of public record (the

14   existence of a motion or of representations having been made therein) but not of the veracity of

15   the arguments and disputed facts contained therein.”) (emphasis in original).

16          However, the foregoing principles are limited by the rule precluding the presentation of

17   evidence that is more prejudicial than probative. See FED. R. EVID 403. Accordingly, Waymo

18   must not be permitted to refer to the content of the Court’s preliminary findings (such as those in

19   the Court’s Preliminary Injunction Order) before the jury; to do so would be confusing to the jury

20   and highly prejudicial to Uber. Uber will not refer to such findings either.

21          These principles likewise permit only limited evidentiary use of the “acts of the parties or

22   other actors in the litigation; e.g., that a complaint was filed,” 21B Charles Alan Wright & Arthur

23   R. Miller, FEDERAL PRACTICE & PROCEDURE EVIDENCE, § 5106.4 (2d ed. 2013); the “existence of

24   a motion or of representations having been made therein,” Cal. Edison, 300 F. Supp. 2d at 974;

25   and the fact that a party took a position through its attorney in a public hearing, In re Adobe Sys.,

26   Inc. Privacy Litig., 66 F. Supp. 3d 1197, 1207 n. 2 (N.D. Cal. 2014). For example, if Waymo,

27   through counsel, asserts that a fact is true, under limited circumstances that statement may be

28   imputed to Waymo under Federal Rule of Evidence 801(d)(2). Compare Totten v. Merkle, 137
                                                 2
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 1   F.3d 1172, 1176 (9th Cir. 1998) (considering unsigned attorney declaration; “[u]nder the federal

 2   rules, a statement made by an attorney is generally admissible against the client”) with EOTT

 3   Energy Operating Ltd. P'ship v. Winterthur Swiss Ins. Co., 257 F.3d 992, 999 (9th Cir. 2001)

 4   (citing Las Vegas Nightlife, Inc. v. Clark County, 38 F.3d 1100, 1102 (9th Cir.1994)) (counsel’s

 5   assertions at oral argument are “not part of the factual record”).

 6          The limited lists below are consistent with these general principles.

 7          Uber understands the Court’s requests to be directed at evidence that Uber currently plans

 8   to show or describe to the jury during trial. (See 6/29/2017 Hr’g Tr. 91:23–25, 92:1–3.)

 9   Therefore, Uber has not included in these lists material that it may wish to show the Court in

10   motions in limine, jury instructions, or other briefing. Uber may wish to explain to the Court that

11   a position Waymo may take in the future contravenes a Court order, has already been considered

12   and rejected by the Court, or represents a new position that Waymo should be judicially estopped

13   from taking because it contradicts a position Waymo previously took in this litigation. See, e.g.,

14   Marin All. for Med. Marijuana v. Holder, No. C 11-05349 SBA, 2012 WL 2862608, at *10 (N.D.

15   Cal. July 11, 2012) (reviewing attorney statements in a court hearing transcript to determine

16   whether a party was judicially estopped from asserting a particular claim), aff'd sub nom.

17   Sacramento Nonprofit Collective v. Holder, 552 F. App’x 680 (9th Cir. 2014); In re Clawson, 434

18   B.R. 556, 566 (N.D. Cal. 2010) (if a party’s attorney had “previously stated or represented to the

19   court” one position at an on-the-record hearing, “then judicial estoppel would preclude the

20   inconsistent statements to the contrary.”). For example, should Waymo go back on its agreement

21   to dismiss certain patent claims (Dkt. 841), to drop any reference to Sameer Kshirsagar and Radu

22   Raduta’s downloads or supplier lists as trade secrets (6/7/2017 Hr’g Tr. 14:13–21), or to refrain

23   from referencing any agreement with Anthony Levandowski containing an arbitration clause for

24   any purpose in the case (4/27/2017 Hr’g Tr. 5:13–15, 5:18–24), Uber would take up those issues

25   with the Court, outside the presence of the jury. Should Waymo take inconsistent legal positions

26   on the scope of Stroz’s agency for MoFo (6/23/17 Hrg. Tr. 42:10–13) or the proper application of

27   the Fifth Amendment privilege (4/6/2017 Hrg. Tr. 12:10–12; 5/3/2017 Hr’g Tr. (Public Session)

28   72:5–7), Uber may point out those inconsistencies to the Court, outside the presence of the jury.
                                                 3
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 1   Should Waymo walk back its prior narrowing of certain trade secrets (5/3/2017 Hr’g Tr. (Closed

 2   Session) 17:16–21; Dkt. 483), Uber would take up those issues with the Court, outside the

 3   presence of the jury. These actions might result in a curative instruction, at the Court’s discretion.

 4   Of course, if the Court concludes that Waymo is permitted to present to the jury statements by

 5   Uber or its counsel that are inconsistent with the foregoing principles, then Uber would seek

 6   equal treatment.

 7          While the Court has asked us to provide a list of all events occurring after the

 8   commencement of this civil action that it plans to present in its case in chief at trial, Uber submits

 9   this list without prejudice to supplementation and presentation at trial. Not only has Uber just

10   begun to receive discovery from Waymo, its trial planning is far from complete.

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                 DEFENDANTS’ RESPONSE TO COURT’S REQUESTS FOR LISTS (DKT. 784, ¶ 1)
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 1                                      LIST OF COURT ORDERS

 2     1. Order Regarding Expedited Discovery (3/16/2017, Dkt. 61). The existence (though not the

 3        contents) of this Order is relevant because it gives context to Uber’s efforts to locate any

 4        allegedly misappropriated material, to demand Levandowski’s cooperation and assistance

 5        so that Uber could comply with the Court’s directives, and its decision to terminate

 6        Levandowski when he did not comply. Thus, the parties should be permitted to refer to

 7        the existence of the Order, but the Order itself should not be admitted into evidence.

 8     2. Order Granting in Part and Denying in Part Plaintiff’s Motion for Provisional Relief

 9        (5/11/2017, Dkt. 426). The prejudice to Uber would outweigh any possible probative

10        value of telling the jury about this Order or presenting it as evidence. It should therefore

11        be excluded, subject only to the following limited exceptions: (a) Uber should be

12        permitted to tell the jury about the searches and accounting it undertook to comply with

13        this Order; and (b) to the extent Uber does so (and only to that extent), Waymo should be

14        permitted to explain to the jury that these actions by Uber were done pursuant to a Court

15        order (without presenting the Order itself). If Uber presented no such evidence, no

16        mention of the Order could be made by either party. Under no circumstances should the

17        Court’s preliminary findings in this Order regarding likelihood of success on the merits be

18        presented to the jury. The Order itself should not be admitted into evidence under any

19        circumstances.

20     3. Order Regarding Dismissal of Patent Claims (7/7/2017, Dkt. 841). Uber may refer to this

21        Order to demonstrate that Waymo has conceded that Uber’s Fuji LiDAR does not practice

22        Waymo’s single-lens LiDAR design.

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 1            LIST OF PARTY ADMISSIONS THROUGH ATTORNEY STATEMENTS OR FILINGS

 2     1. Google’s October 2016 Arbitration Demands (E.g., Dkt. 138).

 3            a. Like the Complaint, the arbitration demands demonstrate that Waymo strategically

 4               chose to sue Uber in the public domain while keeping its complaint against

 5               Levandowski in private arbitration, evidencing Waymo’s anticompetitive aims.

 6            b. The Arbitration Demands also demonstrate that Waymo elected not to sue

 7               Levandowski for trade-secret misappropriation in arbitration.

 8            c. Waymo admitted in this filing that it was contemporaneously disputing

 9               Levandowski’s entitlement to his bonus, referencing his “supposed contributions”

10               to Google’s self-driving car project. (Dkt. 138 at 10.) This is relevant to show that

11               Google challenged Levandowski’s entitlement to any bonus.

12     2. The original February 23 Complaint, as amended March 10, 2017 (Dkts. 1, 23).

13            a. The caption of the Complaint demonstrates Waymo’s strategic choice to sue only

14               certain defendants (i.e., not Anthony Levandowksi), as well as its timing. This

15               tends to show Waymo’s motivation to bring this suit strategically against its

16               competitor, and to undercut Waymo’s claims about the strength of its allegations

17               against Levandowski.

18            b. Waymo admits that “LiDAR systems are made up of thousands of individual

19               hardware and software components that can be configured in virtually limitless

20               combinations and designs.” (Dkt. 23, ¶ 30.) This admission confirms that

21               LiDARs have numerous components (including software)—not just the few,

22               relatively minor hardware features that Waymo identifies as trade secrets.

23            c. Waymo admits that “One way that Waymo pioneered LiDAR systems with

24               improved performance at lower cost was by innovating a design that, in part, uses

25               a single lens—rather than multiple sets of lenses—to both transmit and receive the

26               collection of laser beams used to scan the surrounding environment.” (Dkt. 23, ¶

27               33.) This admission is relevant because it confirms that the single-lens design was

28               a key driver of the LiDAR improvements that Waymo claims, and shows that
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 1               single-lens design is substantially different from multi-lens designs.

 2            d. Waymo’s allegations in the Complaint also show that what originally claimed

 3               occurred here is very different from what it will end up trying to persuade the jury

 4               occurred, and shows that Waymo has changed its claims because the facts did not

 5               support what it alleged.

 6     3. Waymo’s March 10, 2017 Motion for a Preliminary Injunction (Dkt. 24).

 7            a. Waymo made numerous claims about its single-lens design, including that it was a

 8               “game-changer,” and reduced the size, complexity, and cost of Waymo’s

 9               technology. (Dkt. 24 at 4.) These admissions confirm that the single-lens design

10               was a key driver of the LiDAR improvements that Waymo claims, and not

11               Waymo’s trade secrets. Waymo also admitted that a single-lens design is “vastly

12               different” from multi-lens designs.

13            b. Waymo admitted that the patents at issue in the motion—the ’922 and ’464

14               patents—covered “core technical features that enable a LiDAR system to meet the

15               challenges of the self-driving environment,” including advantages in “size, cost,

16               and complexity.” (Dkt. 24 at 22–23.) Waymo claimed that it “would be much

17               more difficult to successfully launch a self-driving car without this patented

18               technology.” (Id. at 23.) These admissions tend to show that Waymo’s alleged

19               improvements in size, cost, and complexity are the result of a design in now-

20               dismissed patent claims, and not any other alleged improvements, patents, or trade

21               secrets.

22     4. Waymo’s initial list of 121 supposed trade secrets, submitted on March 10, 2017 (Dkt. 25-

23        7 (Declaration of Jordan Jaffe In Support Of Waymo’s Motion for a Preliminary

24        Injunction, Exhibit A)). Uber may make limited reference to the 121 claimed trade secrets

25        in order to explain and contextualize its efforts to find evidence of those claimed secrets

26        within Uber.

27     5. Waymo’s April 10, 2017, Opposition to Uber’s Motion to Compel Arbitration. (Dkt.

28        204.) In this filing, Waymo confirmed that it did not assert trade-secret claims against
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 1        Levandowski in arbitration. (Dkt. 204 at 2, 7–8, 13, 22.) The fact that Waymo has

 2        elected not to sue Levandowski for trade-secret misappropriation in any forum is relevant

 3        because it demonstrates Waymo’s anticompetitive aims and tends to undercut its claims

 4        against Levandowski.

 5     6. Anthony Levandowski’s counsel’s instructions regarding the scope of his Fifth

 6        Amendment invocation during his April 14, 2017, deposition (E.g., Dkt. 273 (A.

 7        Levandowski 4/14/2017 Dep. Tr. 85:8–11, (instructing Levandowski “not to answer in

 8        any way about matters that occurred after the date you began employment with Google”),

 9        86:3–5)). During his deposition, Levandowski was instructed to, and did, take the Fifth in

10        response to every question relating to his employment both at Google and at Uber—more

11        than 400 invocations in total. He is likely to receive and follow the same instruction at

12        trial. Uber plans to move in limine to exclude Levandowski’s testimony and any

13        inferences from it. Should that motion be granted, Uber would not present evidence of

14        these instructions. Should that motion be denied and those Levandowski Fifth

15        Amendment invocations be admitted, however, Uber may reference Levandowski’s

16        counsel’s instructions in order to explain to the jury that there is no probative value to

17        Levandowski’s invocations.

18     7. Jordan Jaffe, at the May 3, 2017, closed session of the Court’s Preliminary Injunction

19        hearing, stated, in response to questions from the Court: “THE COURT: But you did not

20        claim                  You just claimed                     . MR. JAFFE:

21                          that's correct, your Honor. THE COURT: And you think that's a trade

22        secret? MR. JAFFE: Yes, your Honor.” (5/3/2017 Hr’g Tr. (Closed Session) 17:16–21.)

23        This admission is relevant because it demonstrates that Waymo is defining its trade secrets

24        broadly to cover all

25     8. Waymo’s Notice Clarifying Vertical Resolution (Dkt. 483). In this submission, Waymo

26        confirmed that not all forms of                          are covered by Waymo’s alleged

27        trade secret. Specifically, the                        described in the Court’s question

28        (                 where the beams hit the road at even intervals) is not a trade secret.
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 1         (Dkt. 483-3 at 2–3.) This admission is relevant because Uber will demonstrate that any

 2                               in its design is different from Waymo’s implementation and is not

 3         a trade secret.

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               DEFENDANTS’ RESPONSE TO COURT’S REQUESTS FOR LISTS (DKT. 784, ¶ 1)
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 1                                 LIST OF POST-COMPLAINT EVENTS

 2      1. With the filing of this lawsuit on February 23, 2017, Uber first learned that Waymo

 3         believed and was alleging that Anthony Levandowski had improperly downloaded Google

 4         proprietary information (“Downloaded Files”) with the intent to take it with him, and that

 5         Levandowski deliberately took that information with him when he left Google.

 6      2. Waymo’s allegations in this lawsuit, and subsequent presentation of evidence of

 7         Levandowski’s downloading, was the first time that anyone at Uber learned that

 8         Levandowski may have improperly downloaded and deliberately kept Google information

 9         as alleged by Waymo.

10      3. After the filing of this lawsuit, Uber learned that the alleged downloading may have been

11         done in relation to Levandowski’s employment at Google, specifically to ensure the

12         expected payment of the bonus owed to him from Google. For example, after the

13         allegations in this case arose, but before he took the Fifth, Levandowski told Travis

14         Kalanick (and perhaps others) that he downloaded files in relation to the payment of his

15         bonus from Google (a bonus that was ultimately worth $120 million).

16      4. After the filing of this lawsuit, Uber also learned that the timing of the Levandowski

17         bonus corroborates that Levandowski likely downloaded and retained Google information

18         in relation to that bonus. Of that total bonus, approximately $50 million was payable as of

19         October 2015, but was paid on December 31, 2015, and approximately $70 million was

20         paid in August 2016. Uber also learned after the filing of this lawsuit that Google said in

21         arbitration papers that it paid Levandowski a bonus for what it called his “supposed

22         contributions.” (Dkt. 138 at 10, ¶ 3.) While these facts arose before the lawsuit was filed,

23         Uber only learned of them later.

24      5. After the filing of this lawsuit, Levandowski also told Uber and others that he downloaded

25         the files in order to work from home, including at an all-hands meeting. This was either

26         not a true explanation or not a complete explanation. Uber’s trial presentation will depend

27         on this continued investigation.

28      6. Uber never used any Google trade secrets or patented technology in the development of its
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 1         technology. As Uber’s witnesses will testify at trial (and have testified in deposition), no

 2         Uber employee is aware of Levandowski ever using any Google proprietary information

 3         in the performance of his duties at Uber. Uber engineers will testify that this was true

 4         both before and after the filing of Waymo’s Complaint.

 5      7. Uber engineers will testify about how they independently developed Uber’s technology,

 6         including any independent development happening after the filing of this lawsuit and

 7         before the time of trial.

 8      8. In March 2017, within approximately a month of the filing of this lawsuit, Levandowski

 9         asserted his Fifth Amendment right against self-incrimination. Uber would seek to

10         present this fact to the jury only to the extent its motion in limine on Levandowski’s

11         invocation is denied.

12      9. In Spring 2017, Uber made formal demands of Levandowski, including specifically that

13         he cooperate in Uber’s investigation, fact gathering, and defense of the lawsuit, and in

14         particular demanded that Levandowski return anything belonging to Waymo that he might

15         still have in his possession or control. Among other evidence of Uber’s demands that

16         Levandowski testify and cooperate, Uber will introduce non-privileged correspondence

17         with Levandowksi on this topic, as well as testimony from those involved.

18      10. After Levandowski failed to cooperate as directed, Uber terminated his employment by

19         letter dated May 26, 2017. (E.g., Dkt. 519-2 (5/26/2017 Ltr. from S. Yoo to A.

20         Levandowski (terminating Levandowski’s employment, subject to his ability to cure by

21         timely cooperating)).)

22      11. Uber engaged in extensive efforts after Waymo filed this lawsuit to locate, sequester, and

23         remediate any of the Downloaded Files and did not identify any such files. Uber intends

24         to introduce evidence of its extensive and comprehensive efforts, after this litigation

25         commenced, to locate in Uber’s files any copies of the Downloaded Files, including

26         percipient and expert testimony about the searches Uber performed, the inspections of

27         Uber facilities by Waymo, interviews of Uber employees, and expert testimony regarding

28         the adequacy of Uber’s efforts to locate any of the allegedly downloaded materials. These
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 1         efforts include:

 2               As of April 7, 2017, Uber’s vendor Stroz Friedberg imaged the workstations of 87

 3                Uber employees, consisting of all former Google employees who were employed

 4                by Uber and working on Uber’s autonomous vehicle technology as of April 2017.

 5                Stroz Friedberg also worked with Uber to preserve and collect data from the

 6                company’s G Suite applications, including Gmail email and Google Drive file

 7                server storage. Stroz Friedberg collected a total of approximately 106.5 terabytes

 8                of data. Stroz Friedberg then examined the data from Levandowski, Sameer

 9                Kshirsagar and Radu Raduta, as well as seven additional former Google

10                employees who worked on Chauffeur or LiDAR at Google (i.e., Asheem Linaval,

11                Daniel Gruver, George Lagui, Jur van den Berg, Michael Tocce, Nikko Alcantara,

12                and Rudy Sevile). In addition, Stroz Friedberg searched Uber’s Git version-

13                control system software repositories and Kshirsagar’s personal phone and email.

14               Stroz Friedberg also forensically collected approximately 235 terabytes of data,

15                including data from nine servers and 148 different custodians, including every

16                person on the list Uber provided to the Court of “individuals with LiDAR

17                responsibilities.” The custodian collection included email and other data from 280

18                different computers. These efforts are detailed in part in the Declarations of Kevin

19                Faulkner and Asheem Linaval in Support of Defendants’ Opposition to Plaintiff’s

20                Motion for Preliminary Injunction and in Support of Defendants’ Sur-Reply.

21                (Dkts. 175-1, 177-5, 303, and 304.) These efforts uncovered no Downloaded Files

22                at Uber.

23               In response to the Court’s May 11, 2017 Order, Uber took the following steps,

24                among others. First, Uber sent a survey to each of its employees via its “Global

25                Uber Team” email listserv and conducted interviews of over 160 employees,

26                including those employees who responded that they had had communications with

27                Levandowski mentioning LiDAR. None of the employees interviewed indicated

28                he had seen or heard of the Downloaded Files, outside of allegations in this case or
                                              12
               DEFENDANTS’ RESPONSE TO COURT’S REQUESTS FOR LISTS (DKT. 784, ¶ 1)
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 1                 press reports.

 2                Uber reviewed over 11,000 documents, including emails, Google Drive

 3                 documents, and calendar invitations for any communications in which

 4                 Levandowski mentioned LiDAR. None of this review uncovered any Downloaded

 5                 Files.

 6                Uber sent a survey to its LiDAR-related suppliers, following up by phone and in

 7                 writing with those suppliers that responded that they had had communications with

 8                 Levandowski mentioning LiDAR. None of these suppliers indicated that it had

 9                 seen or heard of the Downloaded Files, outside of allegations in this case or press

10                 reports.

11                Uber interviewed 60 individuals at Stroz Friedberg to document which of them

12                 may have seen potentially Downloaded Files and to confirm none of them had sent

13                 any of the Downloaded Files to Uber. No one indicated that she or he had sent any

14                 Downloaded Files to Uber.

15                Uber conducted interviews of individuals known to have received the Stroz

16                 Report, including Uber board members and Uber’s outside counsel, to verify the

17                 chain of custody and to confirm that none of them had forwarded any files that

18                 were potentially Downloaded Files to Uber. No one indicated that she or he had

19                 sent any potentially Downloaded Files to Uber.

20      12. Waymo has inspected all four of Uber’s facilities where LiDAR work is ongoing. It has

21         inspected Levandowski’s workstation and Uber-issued phone and computers, along with

22         the devices of Uber engineers involved in LiDAR. These inspections have spanned ten

23         days and more than 56 hours and are ongoing. With all of these extraordinary efforts,

24         Waymo has still found no evidence at Uber of the Downloaded Files that Waymo says

25         Levandowski downloaded before leaving Waymo.

26      13. Should Waymo introduce evidence regarding the Stroz Report if the privilege claims over

27         that report are ultimately rejected, and should Waymo be permitted to introduce argument

28         regarding individuals’ receipt of the Stroz Report, Uber may introduce evidence about
                                              13
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 1         who received the Stroz Report, what they received, when they received it, and for what

 2         purpose. Several of the individuals who received the report received it after the filing of

 3         the Complaint. Uber does not believe these facts are relevant, and has no plans to

 4         introduce them unless Waymo makes these actions necessary to contextualize and explain.

 5      14. Should Waymo be permitted to put in evidence of its damages despite its inadequate Rule

 6         26 disclosures (see Dkt. 797), Uber will offer evidence that will demonstrate that Waymo

 7         has suffered no damages. This evidence will include expert and fact-witness testimony

 8         about the currently non-existent market for self-driving vehicles, projections regarding

 9         that future market, and Uber’s capacity to compete in that market, up to and after the time

10         of trial. For example, Uber will put on fact and expert witness testimony to show that (1)

11         the “market” for self-driving cars does not yet exist, and therefore Waymo has suffered no

12         cognizable competitive harm, even if it succeeds in showing that Uber possessed or used

13         any Waymo trade secrets (which it did not), and (2) Uber has not yet commercialized any

14         of its LiDAR technology.

15

16      15. Waymo originally accused Uber’s current LiDAR design of infringing single-lens patents

17         (the ’922, ’464, and ’273 patents), but was forced to drop those claims when it learned that

18         Uber does not use a single-lens design.

19      16. Waymo’s technical expert, Gregory Kintz, opined that Fuji infringed the single-lens

20         patents, but was forced to withdraw those opinions.

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 1
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